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                                  PHILADELPHIA MUNICIPAL COURT
                                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                1339 Chestnut Street, 10th Floor, Philadelphia, PA 19107
                      Marsha H. Neifield, President Judge       John J. Joyce, Deputy Court Administrator

                                                                # SC-17-12-22-5793
 LVNV Funding LLC                                               Rojelio Ramos
 625 Pilot Road Suite 3                                         1033 W Russell Street
 Las Vegas, NV 89119                                            Philadelphia, PA 19140




                                                    Plaintiff                                                    Defendant(s)
         MICHELLE L. SANGINITI, Esq
  ________________________________________ Address & 165 PASSAIC AVENUE SUITE 301B
                                                     FAIRFIELD, NJ 07004
  Plaintiff/Attorney                       Phone     973-226-0050
                    311248
  Attorney # ________________

                                                    ORDER
                               27th
       AND NOW, to wit this __________day of ______________________,
                                                      April          _________,
                                                                        2018    upon
consideration of the above captioned complaint, it is hereby ordered and decreed that the above captioned
case be marked as follows:
TapeID: 2 Start Position: 3:25PM End Position: 4:14PM




Judgment for Defendant.            SEE SCANNED DISPOSITION




                                                   BY THE COURT:


                                                                      Barbara S. Gilbert
                                                                      _____________________________
                                                                                        (M. LOZADA)         J.
                                                                                                                      51 (07/09/01)




                                    Exhibit P-4
